        Case 2:10-cv-01283-RJS Document 626 Filed 07/03/14 Page 1 of 11




      IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

                                     CENTRAL DIVISION


JOHN T. BRAUN, MD,
                                                                   MEMORANDUM
                       Plaintiff,                                 DECISION & ORDER

        v.

MEDTRONIC SOFAMOR DANEK, INC.,                        Case No. 2:10-CV-01283

                       Defendant.                     Judge Robert J. Shelby


       Following a trial on the merits, a jury returned a verdict in favor of Plaintiff John T.

Braun on several causes of action. Included in the jury verdict is an award of punitive damages

on Dr. Braun’s fraudulent inducement claim against Defendant Medtronic Sofamor Danek, Inc.

Dr. Braun and Intervenor Attorney General Sean D. Reyes, acting on behalf of the State of Utah,

seek a determination of the applicability of a Utah statute that mandates split-recovery of

punitive damage awards. The State contends that the current statute applies, and that the court is

required to apportion the punitive damages verdict between Dr. Braun and the State of Utah. Dr.

Braun contends a prior version of the statute applies, and that a split-recovery is improper where

the prior statute was ruled unconstitutional.

       After careful consideration of the briefing and relevant legal authorities, the court

concludes that the statutory provision in effect at the time of Medtronic’s fraudulent inducement

applies to the jury’s award. Because the Utah Supreme Court struck down this statute as
            Case 2:10-cv-01283-RJS Document 626 Filed 07/03/14 Page 2 of 11



unconstitutional, the court DENIES the State’s request to apportion the jury’s punitive damages

award. 1

                                                 BACKGROUND

           The court held a ten-day jury trial in February 2014. During trial, the court ruled that Dr.

Braun could proceed on his fraudulent inducement claim against Medtronic, but only insofar as

the claim arose out of Medtronic’s conduct prior to April 1, 2000, the date on which the parties

enter into a License Agreement. 2 At the conclusion of trial, the jury returned a verdict awarding

$12,000,000 in punitive damages on the fraudulent inducement claim. 3

           Prior to the entry of judgment, the State filed a motion to intervene in the case for the

limited purpose of asserting a statutory interest in the punitive damages award. 4 The State

argued that the court should permit it to intervene because a decision concerning apportionment

of punitive damages could impair or impede the State’s ability to protect its statutory interest. 5

After granting the motion to intervene, the court invited Dr. Braun and the State to submit

expedited briefing on the applicability of Utah Code Section 78B-8-201(3). 6

           The split-recovery provision in effect at the time of Medtronic’s fraudulent inducement

provided: “In any judgment where punitive damages are awarded and paid, 50% of the amount

of the punitive damages in excess of $20,000 shall, after payment of attorneys’ fees and costs, be

remitted to the state treasurer for deposit into the General Fund.” 7 Beginning in 1991, the Utah



1
    Dkt. No. 594.
2
    Trial Tr. 1414:17-1415:24, Feb. 26, 2014; Trial Tr. 1624:15-1625:11, Feb. 27, 2014.
3
    Dkt. No. 573.
4
    Dkt. No. 589.
5
    Id.
6
    See Dkt. Nos. 592, 593.
7
    Id. § 78-18-1 (1989).

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            Case 2:10-cv-01283-RJS Document 626 Filed 07/03/14 Page 3 of 11



Legislature made minor amendments to the language of the split-recovery provision, in part to

clarify how the State would receive its interest in punitive damages. 8 In 2005, the Utah Supreme

Court held that the provision in effect prior to 1991 was unconstitutional. 9 Recognizing the

practical and constitutional issues arising out of the prior statute, the Legislature again amended

the split-recovery provision in 2008. 10 The split-recovery provision now provides:

                    In any case where punitive damages are awarded, the court shall
                    enter judgment as follows: (i) for the first $50,000, judgment shall
                    be in favor of the injured party; and (ii) any amount in excess of
                    $50,000 shall be divided equally between the state and the injured
                    party, and judgment to each entered accordingly. 11

           The State and Dr. Braun each filed a memorandum of law on the applicability of the split-

recovery provision. 12 The State maintains that this court should apply the current split-recovery

provision because the State’s right to claim a portion of a punitive damages award necessarily

accrues on the date that the jury returns its verdict. If this split-recovery provision applies, the

court would be required to apportion $5,975,000 to the State and $6,025,000 to Dr. Braun.

           In contrast, Dr. Braun argues that the current version of the split-recovery provision does

not apply to the verdict in this case. According to Dr. Braun, the statutory provision in effect at

the time his fraudulent inducement claim accrued must apply to the verdict because statutes that

affect substantive rights should not be applied retroactively absent clear legislative intent.

Because the Utah Supreme Court concluded that the 1989 version of the split-recovery provision,


8
 See, e.g., 2004 Utah Laws Ch. 164 (eliminating “paid” language and granting State rights of a judgment creditor);
see also Smith v. Price Dev. Co., 125 P.3d 945, 948 n.2, 950 n.5 (Utah 2005) (discussing legislative history).
9
    Smith, 125 P.3d at 949-53.
10
  2008 Utah Laws Ch. 260; Punitive Damages Amendments: Hearing on S.B. 155 Before the Sen. Comm. on the
Judiciary, Law Enforcement, and Criminal Justice, 57th Legis., Gen. Sess. (Utah 2008) (statements of Sen. Lyle W.
Hillyard and Director Kevin V. Olsen), http://utahlegislature.granicus.com/MediaPlayer.php?clip_id=13424&
meta_id=506357.
11
     Utah Code Ann. § 78B-8-201(3)(a) (2011).
12
     Dkt. Nos. 594, 607.

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            Case 2:10-cv-01283-RJS Document 626 Filed 07/03/14 Page 4 of 11



which was in effect at the time Dr. Braun’s claim arose, was unconstitutional, Dr. Braun argues

that the State is not entitled to any portion of the jury’s punitive damages award.

                                                   ANALYSIS

           The parties ask the court to resolve whether the allocation of punitive damages between

the State and a plaintiff should be governed by the statute in effect at the time of the underlying

claim or the date of the jury’s verdict. To the court’s knowledge, neither the Utah Supreme Court

nor Utah Court of Appeals has addressed this issue. Neither party cites to decisions by the Tenth

Circuit or other state courts that directly address the issue in this context. Accordingly, as in all

diversity cases that raise novel questions of state law, this court must attempt to resolve the legal

question before it by anticipating the conclusion the Utah Supreme Court likely would reach. 13

           After careful consideration of the authorities cited by both parties, the court concludes

that the Utah Supreme Court likely would resolve this dispute in favor of Dr. Braun for three

reasons. First, Dr. Braun’s approach is more consistent with other provisions of Utah law.

Second, the issue presented is analogous to cases involving punitive damages cap statutes, where

courts routinely apply the statute in effect at the time the underlying claim arose. Third, the court

concludes that the taking cases cited by the State are inapposite. For these reasons, the court

concludes that the State is not entitled to any portion of the jury’s punitive damages award in this

case as a matter of law.

I.         EXISTING UTAH CASE LAW

           The parties appear to agree that Utah’s split-recovery provision is substantive law, as

opposed to a procedural statute. 14 In Utah, the “general rule is that the law establishing



13
     See Copier By & Through Lindsey v. Smith & Wesson Corp., 138 F.3d 833, 839-40 (10th Cir. 1998).
14
  See Dkt. No. 607, at 6. Where neither party specifically addressed whether the provision is procedural, the court
assumes for the purpose of its analysis that the provision is substantive.
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            Case 2:10-cv-01283-RJS Document 626 Filed 07/03/14 Page 5 of 11



substantive rights and liabilities when a cause of action arises, and not a subsequently enacted

statute, governs the resolution of the dispute.” 15 As a result, the parties focus much of their

argument on whether a right to punitive damages accrues at the time the underlying cause of

action arose or the time of the verdict.

           In an attempt to prove that the current split-recovery provision applies to the verdict in

this case, the State maintains that a Utah court would apply the substantive law as it existed on

the date that a cause of action accrues. 16 Ordinarily, “a cause of action accrues when a plaintiff

could have first filed and prosecuted an action to successful completion.” 17 According to the

State, its statutory interest in a portion of the punitive damages award must be treated like a

traditional cause of action. And because the State could not claim an interest in the punitive

damages award until after the jury concluded that punitive damages should be awarded, the State

argues that the law governing its “cause of action” must be the split-recovery provision in effect

on March 1, 2014, the date the jury returned its verdict in this case.

           But the State’s approach ignores a critical distinction between a recognized cause of

action—such as breach of contract—and recovery of punitive damages. 18 Ordinarily, a party

does not have a cause of action for punitive damages. 19 Instead, a party’s right to seek punitive

damages is inextricably linked to an underlying cause of action. 20 For this reason, other courts



15
  Carlucci v. Utah State Indus. Comm'n, 725 P.2d 1335, 1336 (Utah 1986); State v. Clark, 251 P.3d 829, 833-34
(Utah 2011).
16
     State v. Clark, 251 P.3d 829, 833-34 (Utah 2011).
17
     DOIT, Inc. v. Touche, Ross & Co., 926 P.2d 835, 843 (Utah 1996).
18
  See Ong Int'l (U.S.A.) Inc. v. 11th Ave. Corp., 850 P.2d 447 (Utah 1993) (rejecting defendant’s invitation to apply
amendment to punitive damages statute, because the claims arose prior to the statutory enactment, which expressly
provided that it applied only to claims arising after the effective date of the statute).
19
     Norman v. Arnold, 57 P.3d 997, 1001 n.2 (Utah 2002).
20
  See Richardson v. Arizona Fuels Corp., 614 P.2d 636, 640 (Utah 1980) (“Because there is no claim for relief for
punitive damages as such, a claim for punitive damages must be related to an underlying cause of action on which
                                                            5
          Case 2:10-cv-01283-RJS Document 626 Filed 07/03/14 Page 6 of 11



have determined that the substantive law governing the scope of punitive damages recovery is

governed by the law in effect at the time the underlying cause of action arose. 21

         The State’s attempt to characterize the split-recovery provision as creating a separate and

independent cause of action that accrues on the date of the verdict is also problematic because of

the nature of the interest. Just as the plaintiff’s interest is bound up in the underlying claim, the

State’s recovery is necessarily dependent on the plaintiff succeeding at trial. Unless the plaintiff

prevails on the underlying cause of action, neither the plaintiff nor the State would be entitled to

any recovery of punitive damages. In this respect, the State’s recovery is necessarily bound up in

and subordinate to the underlying cause of action. And the substantive law at the time of the

underlying claim must have some effect on the scope of the recovery of punitive damages.

         Stated differently, while the current version of the split-recovery provision may provide

the State with a basis for intervening in a pending suit to assert a statutory interest in a jury

award, the court remains unconvinced that this interest trumps the scope of a plaintiff’s recovery

as it existed at the time the underlying cause of action arose. For this reason, the court concludes

that the accrual of the underlying cause of action, as opposed to the date of the verdict, is the

temporal reference for determining the substantive law governing punitive damage recovery.

         The court further notes that this approach is consistent with the Legislature’s adoption of

Utah Code Section 68-3-3. Under this statute, the Utah Legislature barred courts from applying

any provision of the Utah Code retroactively, “unless the provision is expressly declared to be




the punitive damages may be based.”); cf. Behrens v. Raleigh Hills Hosp., Inc., 675 P.2d 1179, 1183 (Utah 1983)
(rejecting defendant’s argument that a claim for punitive damages was a separate and new cause of action).
21
   See Seltzer v. Morton, 154 P.3d 561, 596 (Mont. 2007) (concluding subsequent amendment to punitive damages
statute did not limit recovery for a claim that accrued prior to the amendment); cf. Pacific Mutual Life Ins. Co. v.
Haslip, 499 U.S.1, at 5, 20 n.9 (1991).

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             Case 2:10-cv-01283-RJS Document 626 Filed 07/03/14 Page 7 of 11



retroactive.” 22 But the State’s theory appears to retroactively apply the split-recovery provision.

Dr. Braun’s recovery of punitive damages is inherently tied to a fraudulent inducement claim,

which accrued four years before the Utah Legislature cured the constitutional defects of the split-

recovery provision. By definition, the State’s approach would require this court to retroactively

apply substantive law to a claim that existed long before the legislative enactment.

           The State’s argument is in tension with Utah Code Section 68-3-3. In light of this statute,

it seems likely that the Legislature would have expressly provided for the retroactive application

of the split-recovery provision if it had intended for the enactment to divest parties of punitive

damages awards on causes of action that arose prior to 2004. As a result, in the absence of any

express statutory language or legislative history to the contrary, the court must conclude that the

Legislature intended for the amended split-recovery provision to apply only to those claims that

accrued after the adoption of the current version of the statute.

           Accordingly, the court will apply the split-recovery provision in effect at the time of the

underlying claim. In this case, the claim that forms the basis for punitive damages arose prior to

April 1, 2000. 23 Because the Utah Supreme Court struck down the provision in effect in 2000, 24

the State is not entitled to any portion of the punitive damages awarded to Dr. Braun.

II.        ANALOGY TO PUNITIVE-CAP PROVISIONS

           In their briefing, the parties invite the court to consider cases involving treatment of

punitive-cap provisions, which some states have adopted to limit the total amount of punitive

damages plaintiffs may recover for certain categories of claims. Dr. Braun argues that punitive-

cap provisions and split-recovery provisions are analogous because both substantively diminish a


22
     Utah Code Ann. § 68-3-3.
23
     See Dkt. No. 607, at 2.
24
     Smith v. Price Dev. Co., 127, P.3d 945, 950-53 (Utah 2005).

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             Case 2:10-cv-01283-RJS Document 626 Filed 07/03/14 Page 8 of 11



plaintiff’s recovery. 25 In contrast, the State maintains that punitive-cap statutes are

distinguishable because they do not create a new third-party interest in a jury’s verdict. 26

            Marshall v. TRW, Inc. provides an interpretive framework. 27 In Marshall, a jury awarded

a former employee compensatory and punitive damages for injuries arising out of a work-place

accident. 28 The district court declined the defendant’s invitation to apply a punitive-cap statute

adopted before the jury verdict but after the employee’s termination and the filing of his case. 29

On appeal, the defendant argued that the amended statute applied to the claim and limited the

amount of punitive damages that the plaintiff was entitled to recover. The Tenth Circuit,

however, disagreed. The Tenth Circuit recognized that the Oklahoma Supreme Court had

previously held “statutory increases in wrongful death limitations were changes in substantive

rights and would not be applied retroactively.” Applying this general principle in the context of

punitive-damage caps, the Tenth Circuit held that the district court did not err when it predicted

that Oklahoma courts would decline the defendant’s invitation to retroactively apply a punitive

cap provision to a pre-existing claim. 30

            Similar considerations drive this court’s treatment of Utah’s split-recovery provision.

Much like the punitive-cap provision at issue in Marshall, Utah’s split-recovery provision alters

a party’s substantive recovery of punitive damages. And similar to Oklahoma, the Utah

Legislature has instructed courts to refrain from applying substantive statutory provisions


25
     Dkt. No. 607, at 6-8.
26
     Dkt. No. 594, at 6.
27
     900 F.2d 1517 (10th Cir. 1990).
28
     Id. at 1518-19.
29
     Id. at 1523.
30
   Id. at 1523-24; see also Seltzer v. Morton, 154 P.3d 561, 596 (Mont. 2007) (concluding subsequent amendment to
punitive damages statute did not limit recovery for a claim that accrued prior to the amendment); cf. Pacific Mutual
Life Ins. Co. v. Haslip, 499 U.S.1, at 5, 20 n.9 (1991).

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              Case 2:10-cv-01283-RJS Document 626 Filed 07/03/14 Page 9 of 11



 retroactively in the absence of an express legislative directive do so. 31 Although the current

 split-recovery provision clearly envisions that the State will have a substantive interest in

 punitive damages claims award flowing from claims that accrue after the 2004 amendment, the

 State has not provided the court with a sufficient justification for disregarding the substantive

 scope of a private party’s recovery under a prior version of the statute. Where the State fails to

 meaningfully distinguish between the practical effect of punitive-cap provisions and split-

 recovery provisions, the court concludes that cases discussing punitive-cap provisions are

 analogous to the issue presented in this case and weigh against apportionment.

III.        DISTINGUISHING TAKINGS CASES

            Finally, the court briefly addresses the State’s argument that a plaintiff has no substantive

 right to punitive damages before a jury returns its verdict. For this novel proposition, the State

 relies primarily on takings cases from other jurisdictions. 32 After careful consideration, the court

 concludes that the State’s theory is unpersuasive for two reasons.

            First, the State has not shown that the takings cases cited are determinative of the legal

 issue before this court. In the takings decisions, the principal focus is generally when and

 whether a property interest attaches within the meaning of the due process clause. 33 This issue

 appears to be a great deal more specific and narrow than whether and when a party possesses a

 substantive right to seek and recover punitive damages under Utah law. 34 And the State does not



 31
      Utah Code Ann. § 68-3-3.
 32
      Dkt. No. 594, at 5.
 33
   See, e.g., DeMendoza v. Huffman, 51 P.3d 1232, 1245-56 (Or. 2002); Rhyne v. K-Mart Corp., 594 S.E.2d 1, 14
 (N.C. 2004).
 34
   See Waddoups v. Noorda, 321 P.3d 1108, 1112 (Utah 2013) (“Laws that ‘enlarge, eliminate, or destroy vested or
 contractual rights’ are substantive and are barred from retroactive application absent express legislative intent.”). In
 Waddoups, for example, the Utah Supreme Court concluded that a statute that abrogated a cause of action could not
 be applied retroactively, because it affected a party’s substantive right to seek recovery. Id.

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            Case 2:10-cv-01283-RJS Document 626 Filed 07/03/14 Page 10 of 11



supply the court with any decisions that equate a due process property interest with the Utah

Supreme Court’s approach to determining the applicable substantive law.

           Second, while the State relies heavily on these cases for the proposition that a plaintiff’s

right does not accrue until the time of judgment, these cases are factually distinguishable from

the question presented here. In the cases cited by the State, the courts assumed without much

discussion that the split-recovery provision in effect at the time of the underlying claim applied

to the constitutional challenge. 35 Here, the court is asked to determine the scope of a plaintiff’s

claim to punitive damages for a claim that arose four years prior to the legislative enactment.

           In the absence of any legal authority that specifically supports the State’s approach, the

court must conclude that the general principles espoused in Utah Supreme Court precedent 36 and

Utah Code Section 68-3-3 apply to this case. The court is mindful of a state’s interest in

recovering a portion of punitive damages, which exist in part to remedy the harms inflicted on

similarly situated residents. However, where the current split-recovery provision, at least in part,

limits a plaintiff’s substantive recovery, the court cannot, as a matter of law, retroactively apply it

to pre-existing claims in the absence of an express legislative enactment.

                                                 CONCLUSION

           For the reasons stated, the court concludes that the split-recovery provision in effect at the

time of the underlying claim applies to Dr. Braun’s punitive damages award. Because the prior




35
   DeMendoza v. Huffman, 51 P.3d 1232, 1245-46 (Or. 2002) (“Moreover, in this case, in which the tort that gave
rise to plaintiffs' claim occurred after ORS 18.540 was enacted, plaintiffs cannot credibly argue that they had any
expectation interest in the portion of the punitive damages award that the statute directs to the Criminal Injuries
Compensation Account.”); Rhyne v. K-Mart Corp., 594 S.E.2d 1, 14 (N.C. 2004) (“Here, the incident for which
plaintiffs sough punitive damages occurred in 1998, two years after the effective date of [the statute]. Therefore, the
rights plaintiffs possessed regarding the jury’s role in awarding punitive damages were properly limited[.]”).
36
     See supra Part I.

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           Case 2:10-cv-01283-RJS Document 626 Filed 07/03/14 Page 11 of 11



statute is unconstitutional, the court directs the Clerk of Court to enter judgment in favor of Dr.

Braun in the amount of $37,050,002. 37

           SO ORDERED this 3rd day of July, 2014.

                                              BY THE COURT:


                                              ________________________________________
                                              ROBERT J. SHELBY
                                              United States District Judge




37
     See Dkt. No. 588.

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